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AO 245D-CAED (Rev. 9/01) Sheet 1 - Judgment in a Criminal Case for Revocation



                                    United States District Court
                                            Eastern District of California

          UNITED STATES OF AMERICA                                        JUDGMENT IN A CRIMINAL CASE
                     v.                                                   (For Revocation of Probation or Supervised Release)
                                                                          (For Offenses committed on or after November 1, 1987)
             JOHN JOSEPH MELLO
                      (Defendant’s Name)                                  Criminal Number: 1:03-CR-05169-001


                                                                          Charles Lee
                                                                          Defendant’s Attorney

THE DEFENDANT:
[U] adm itted guilt to violation of charge(s) 1 as alleged in the violation petition filed on 2/4/2010 .
[]  was found in violation of condition(s) of supervision as to charge(s)      after denial of guilt, as alleged in the
    violation petition filed on .
ACCORDINGLY, the court has adjudicated that the defendant is guilty of the following violation(s):

Violation Number                     Nature of Violation                                     Date Violation Occurred
CHARGE 1                             UNLAW FUL USE OF A CONTROLLED                           1/11/2010
                                     SUBSTANCE




The court: [U] revokes: [ ] modifies: [ ] continues under same conditions of supervision heretofore ordered on 7/21/2008 .

       The defendant is sentenced as provided in pages 2 through 5 of this judgm ent. The sentence is im posed
pursuant to the Sentencing Reform Act of 1984.

[]       Charge(s)        is/are dism issed.


         Any previously imposed criminal monetary penalties that remain unpaid shall remain in effect.

        IT IS FURTHER ORDERED that the defendant shall notify the United States Attorney for this district within 30
days of any change of nam e, residence, or m ailing address until all fines, restitution, costs, and special assessm ents
im posed by this judgm ent are fully paid.

                                                                                               3/15/2010
                                                                                    Date of Im position of Sentence


                                                                                       /s/ OLIVER W . W ANGER
                                                                                      Signature of Judicial Officer


                                                                         OLIVER W . W ANGER, United States District Judge
                                                                                 Nam e & Title of Judicial Officer


                                                                                                 3/19/2010
                                                                                                    Date
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AO 245B-CAED (Rev. 3/04) Sheet 2 - Imprisonment
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                                                        IMPRISONMENT
         The defendant is hereby com m itted to the custody of the United States Bureau of Prisons to be im prisoned for a
total term of 5 m onths .




[U]      The court m akes the following recom m endations to the Bureau of Prisons:
         The Court recom m ends that the defendant be incarcerated in a California facility, but only insofar as this accords
         with security classification and space availability. As close to Fresno CA that will accom m odate m edical needs.


[U]      The defendant is rem anded to the custody of the United States Marshal.


[]       The defendant shall surrender to the United States Marshal for this district.
         [ ] at     on     .
         [ ] as notified by the United States Marshal.


[]       The defendant shall surrender for service of sentence at the institution designated by the Bureau of Prisons:
         [ ] before on        .
         [ ] as notified by the United States Marshal.
         [ ] as notified by the Probation or Pretrial Services Officer.
         If no such institution has been designated, to the United States Marshal for this district.


                                                               RETURN
I have executed this judgment as follows:




         Defendant delivered on                                     to

at                                          , with a certified copy of this judgment.




                                                                                             UNITED STATES MARSHAL



                                                                                        By
                                                                                                  Deputy U.S. Marshal
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
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                                                  SUPERVISED RELEASE
          Upon release from imprisonment, the defendant shall be on supervised release for a term of 18 months .


The defendant must report to the probation office in the district to which the defendant is released within 72 hours of release from the
custody of the Bureau of Prisons.

The defendant shall not commit another federal, state, or local crime.

The defendant shall not unlawfully possess a controlled substance. The defendant shall refrain from any unlawful use of controlled
substance. The defendant shall submit to one drug test within 15 days of release from imprisonment and at least two periodic drug
tests thereafter, not to exceed four (4) drug tests per month.

[]        The above drug testing condition is suspended based on the court's determination that the defendant poses a low risk of
          future substance abuse. (Check, if applicable.)

[U]       The defendant shall not possess a firearm, destructive device, or any other dangerous weapon. (Check, if applicable.)

[U ]      The defendant shall submit to the collection of DNA as directed by the probation officer. (Check, if applicable.)

[]        The defendant shall register and comply with the requirements in the federal and state sex offender registration agency in the
          jurisdiction of conviction, Eastern District of California, and in the state and in any jurisdiction where the defendant resides, is
          employed, or is a student. (Check, if applicable.)

[]        The defendant shall participate in an approved program for domestic violence. (Check, if applicable.)

If this judgment imposes a fine or a restitution obligation, it is a condition of supervised release that the defendant pay in accordance
with the Schedule of Payments sheet of this judgment.

The defendant must comply with the standard conditions that have been adopted by this court as well as with any additional conditions
on the attached page.

                                 STANDARD CONDITIONS OF SUPERVISION
1)     the defendant shall not leave the judicial district without permission of the court or probation officer;
2)     the defendant shall report to the probation officer and shall submit a truthful and complete written report within the first five days
       of each month;
3)     the defendant shall answer truthfully all inquiries by the probation officer and follow instructions of the probation officer;
4)     the defendant shall support his or her dependants and meet other family responsibilities;
5)     the defendant shall work regularly at a lawful occupation unless excused by the probation officer for schooling, training or other
       acceptable reasons;
6)     the defendant shall notify the probation officer ten days prior to any change in residence or employment;
7)     the defendant shall refrain from excessive use of alcohol;
8)     the defendant shall not frequent places where controlled substances are illegally sold, used, distributed, or administered;
9)     the defendant shall not associate with any persons engaged in criminal activity, and shall not associate with any person convicted
       of a felony unless granted permission to do so by the probation officer;
10)    the defendant shall permit a probation officer to visit him or her at any time at home or elsewhere, and shall permit confiscation of
       any contraband observed in plain view by the probation officer;
11)    the defendant shall notify the probation officer within seventy-two hours of being arrested or questioned by a law enforcement
       officer;
12)    the defendant shall not enter into any agreement to act as an informer or a special agent of a law enforcement agency without
       the permission of the court;
13)    as directed by the probation officer, the defendant shall notify third parties of risks that may be occasioned by the defendant's
       criminal record or personal history or characteristics, and shall permit the probation officer to make such notifications and to
       confirm the defendant's compliance with such notification requirement.
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AO 245B-CAED (Rev. 3/04) Sheet 3 - Supervised Release
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                                 SPECIAL CONDITIONS OF SUPERVISION
         1.   The defendant shall submit to the search of his person, property, home, and vehicle by a United
              States probation officer, or any other authorized person under the immediate and personal
              supervision of the probation officer, based upon reasonable suspicion, without a search warrant.
              Failure to submit to a search may be grounds for revocation. The defendant shall warn any other
              residents that the premises may be subject to searches pursuant to this condition.

         2.   As directed by the probation officer, the defendant shall participate in an inpatient or outpatient
              correctional treatment program to obtain assistance for drug or alcohol abuse.

         3.   As directed by the probation officer, the defendant shall participate in a program of testing (i.e
              breath, urine, sweat patch, etc.) to determine if he has reverted to the use of drugs or alcohol.

         4.   As directed by the probation officer, the defendant shall participate in a co-payment plan for
              treatment or testing and shall make payment directly to the vendor under contract with the
              United States Probation Office of up to $25 per month.

         5.   The defendant shall submit to the search of his person, property, house, residence, vehicle,
              papers, computer, other electronic communication or data storage devices or media, and effects
              at any time, with or without a warrant, by any law enforcement or probation officer in the lawful
              discharge of the officer’s supervision functions with reasonable suspicion concerning unlawful
              conduct or a violation of a condition of probation or supervised release. Failure to submit to a
              search may be grounds for revocation. The defendant shall warn any other residents that the
              premises may be subject to searches pursuant to this condition.

         6.   The defendant shall not possess or use a computer or any device that has access to any “on-line
              computer service” unless approved by the probation officer. This includes any Internet service
              provider, bulletin board system, or any other public or private computer network.

         7.   The defendant shall have no contact with children under the age of 18 unless approved by the
              probation officer in advance. The defendant is not to loiter within 100 feet of school yards,
              parks, playgrounds, arcades, or other places primarily used by children under the age of 18. This
              shall include that the defendant is not to engage in any occupation, either paid or volunteer,
              which exposes him directly or indirectly with children under the age of 18.

         8.   The defendant shall consent to the probation officer and/or probation service representative
              conducting periodic unannounced examinations of (a) any computer, or (b) computer-related
              device, or © equipment that has an internal or external modem which is in the possession or
              control of the defendant. The defendant consents to retrieval and copying of all data from any
              such computer, computer-related device, or equipment as well as any internal or external
              peripherals to ensure compliance with conditions. The defendant consents to removal of such
              computer, computer-related device, and equipment for purposes of conducting a more thorough
              inspection; and analysis.

              The defendant consents to having installed on any computer, computer-related device, and
              equipment, at the defendant’s expense, any hardware or software systems to monitor the use of
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              such computer, computer-related device, and equipment at the direction of the probation officer,
              and agrees not to tamper with such hardware or software and not install or use any software
              programs designed to hide, alter, or delete his/her computer activities. The defendant consents
              to not installing new hardware without the prior approval of the probation officer.

         9.   The defendant shall not possess, own, use, view, read, or frequent places with material depicting
              and/or describing sexually explicit conduct, including computer images, pictures, photographs,
              books, writings, drawings, videos, or video games. “Sexually explicit conduct” as defined in 18
              USC 2256(2) means actual or simulated (a) sexual intercourse, including genital-genital, oral-
              genital, or oral-anal, whether between the same or opposite sex; (b) bestiality; © masturbation;
              (d) sadistic or masochistic abuse; or (e) lascivious exhibition of the genitals or pubic area of any
              person.

         10. The defendant shall attend, cooperate with, and actively participate in a sex offender treatment
             and therapy program [which may include, but is not limited to, risk assessment, polygraph
             examination, computer voice stress analysis (CVSA), and/or ABEL assessment] as approved
             and directed by the probation officer and as recommended by the assigned treatment provider.

         11. The defendant shall register, as a required in the jurisdiction in which he resides, as a sex
             offender.
